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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_____________________________________________
DAWOOD ALZANAM,
                                                               Case No.: 1:22-cv-01017
                                Plaintiff,

         -against-
                                                                STIPULATION OF
CITY OF KINGSTON, CITY OF KINGSTON                              DISCONTINUANCE
POLICE DEPARTMENT, POLICE OFFICER
TRAVIS WILBER, and POLICE OFFICER
DYLAN JOSLIN-PETER,
                        Defendants.
_____________________________________________

         IT IS HEREBY STIPULATED AND AGREED, by and between the

undersigned, the attorneys of record for all the parties to the above-entitled action, that

whereas no party hereto is an infant or incompetent person for whom a committee has been

appointed and no person not a party has an interest in the subject matter of the action, the

above-entitled action be, and the same hereby is discontinued, with prejudice, without costs

to either party as against the other.

         IT IS FURTHER STIPULATED AND AGREED, that a copy of this Stipulation

shall be treated as an original for all purposes and may be filed without further notice with

the Clerk of the Court and an order to that effect may be entered without further notice.

Dated:     Kingston, New York
           December 2, 2022

 FRIEDMAN, LEVY, GOLDFARB                         COOK, KURTZ & MURPHY, P.C.
 & GREEN, P.C.

 By:
                                                  By:___________________________
 Michael D. Ricchiuto, Esq.                       Michael T. Cook, Esq.
 Attorneys for Plaintiffs                         Attorneys for Defendants
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                              December 2, 2022
